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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
v.                                                  )      Cr. No. 1:19-cr-10040-JTF
                                                    )
ALEXANDER ALPEROVICH, M.D., et al.                  )


                  ORDER GRANTING MOTION TO VACATE PRETRIAL
                                 DEADLINES

        On June 4, 2020, the Court entered a Scheduling Order (Doc. 174), at the agreement of

 the parties. Since then, the government moved to amend the Scheduling Order due to unforeseen

 circumstances with production of electronic discovery materials that may be subject to a claim

 of attorney-client privilege. (Doc. 177). The Court entered an Order granting the government’s

 motion to amend the Scheduling Order (Doc. 178) and an Order granting the government’s

 Motion for Discovery Protocol Governing Disclosure of Material Subject to Claims of Privilege

 (Doc. 182).

        Defendant Alexander Alperovich has moved, and the parties are in agreement, to vacate

 the remaining pretrial deadlines in the Scheduling Order (Doc. 174) given the pending privilege

 claim issues, and in his motion has requested until November 20, 2020, for the submission of a

 revised agreed Scheduling Order or, if agreement cannot be reached, for the parties to submit

 their respective positions to the Court.

        For good cause shown and at the agreement of the parties, it is thereby ORDERED that

 the deadlines in the Pretrial Order on Discovery and Scheduling (Doc. 174) not already

 modified by the Court’s prior Orders are vacated. The parties shall have until November 20,
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 2020, to either submit an agreed pretrial schedule to the Court or to submit their respective

 positions on a pretrial schedule.

        This Order does not modify the currently scheduled trial date, which is to begin March

 15, 2021.

        IT IS SO ORDERED,

        On this ___ day of October, 2020.


                                                    ________________________________
                                                    UNITED STATES DISTRICT JUDGE




                                               2
